AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation




                                                UNITED STATES DISTRICT COURT
                                                          Western District of North Carolina
                                                                           AMENDED
   UNITED STATES OF AMERICA                                            )   JUDGMENT IN A CRIMINAL CASE
                                                                       )   (For Revocation of Probation or Supervised Release)
               V.                                                      )   (For Offenses Committed On or After November 1, 1987)

                                                                       )
   Camron Steven Pope                                                  )   Case Number: DNCW503CR00012-006
                                                                       )   USM Number: 19292-058
                                                                       )
                                                                       )   Douglas Edwards Roberts
                                                                       )   Defendant’s Attorney


THE DEFENDANT:
☒ Admitted guilt to violation of condition(s) 1, 2, 3 & 4 of the term of supervision.
☐ Was found in violation of condition(s) count(s) after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):
Violation                                                                                   Date Violation
Number Nature of Violation                                                                  Concluded
    1     New law violation - Felony sell marijuana and possession with intent to sell      1/25/11
          and deliver marijuana
    2     Drug/alcohol use                                                                  7/31/12

     3           Unauthorized travel                                                                       5/27/12

     4           Drug/alcohol use                                                                          7/31/12

       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

☐      The Defendant has not violated condition(s) and is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States
attorney of any material change in the defendant's economic circumstances.


                                                                                 Date of Imposition of Sentence: 2/6/2013




                                                                                 Date: February 14, 2013
Amended to show admitted guilt to violation of conditions
1, 2, 3 and 4 of the term of supervision.



                  Case 5:03-cr-00012-KDB-SCR                           Document 522       Filed 02/14/13      Page 1 of 2
AO 245D (WDNC Rev. 02/11) Judgment in a Criminal Case for Revocation



Defendant: Camron Steven Pope                                                                            Judgment- Page 2 of 2
Case Number: DNCW503CR00012-006



                                                                       IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
EIGHTEEN (18) MONTHS.

NO SUPERVISED RELEASE TERM TO FOLLOW TERM OF IMPRISONMENT.

☐ The Court makes the following recommendations to the Bureau of Prisons:

☐ The Defendant is remanded to the custody of the United States Marshal.

☐ The Defendant shall surrender to the United States Marshal for this District:

            ☐ As notified by the United States Marshal.
            ☐ At Time am/pm on Surrender Date .

☒ The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☒ As notified by the United States Marshal.
            ☐ Before 2 p.m. on Surrender date .
            ☐ As notified by the Probation Office.


                                                                         RETURN

I have executed this Judgment as follows:




Defendant delivered on __________ to _______________________________________ at

________________________________________, with a certified copy of this Judgment.




                       United States Marshal
                                                                                  By:
                                                                                        Deputy Marshal




                  Case 5:03-cr-00012-KDB-SCR                            Document 522    Filed 02/14/13   Page 2 of 2
